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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION

BERKLEY NATIONAL INSURANCE             )
COMPANY,                               )
                                       )
       Plaintiff,                      )
                                       )
v.                                     )            CASE NO. 1:18-cv-00195-DLH-CRH
                                       )
XTO ENERGY, INC.,                      )
                                       )
       Defendant-Counter-Plaintiff and )
       Third-Party Plaintiff,          )
                                       )
v.                                     )
                                       )
BERKLEY NATIONAL INSURANCE             )
COMPANY,                               )
                                       )
       Counter-Defendant,              )
                                       )
and                                    )
                                       )
COMMERCE AND INDUSTRY                  )
INSURANCE COMPANY, TORUS               )
NATIONAL INSURANCE COMPANY             )
n/k/a STARSTONE NATIONAL               )
INSURNCE COMPANY, and SENECA           )
SPECIALTY INSURANCE COMPANY, )
                                       )
       Third-Party Defendants.         )
____________________________________)

        COMMERCE AND INDUSTRY INSURANCE COMPANY’S AMENDED
         ANSWER TO XTO ENERGY, INC.’S THIRD-PARTY COMPLAINT

       1.      COMES NOW the Third-Party Defendant, Commerce and Industry Insurance

Company (“CIIC”), for its Answer to XTO Energy, Inc.’s (“XTO”) Third-Party Complaint.

       2.      Except as herein admitted, qualified, or otherwise explained, CIIC denies each

and every allegation of the Third-Party Complaint, and puts XTO to the strict proof thereof.



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        3.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraphs 38 and 39.

        4.      CIIC admits the allegations in Paragraph 40.

        5.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraphs 41 and 42.

        6.      Paragraphs 43-46 contain legal conclusions to which no response is required. To

the extent a response is required, CIIC is without sufficient knowledge to form a belief as to the

truth or falsity of the allegations.

        7.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 47.

        8.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 48. Answering further, CIIC refers to the Court to the underlying

complaints filed in the Lawsuits, which are written documents which speak for themselves, for

their true and complete terms. CIIC denies the allegations to the extent they are inconsistent

therewith.

        9.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 49. Answering further, CIIC refers the Court to the underlying

complaints filed in the Lawsuits, which are written documents which speak for themselves, for

their true and complete terms. CIIC denies the allegations to the extent they are inconsistent

therewith.

        10.     Upon information and belief, CIIC admits the allegations in Paragraph 50.

        11.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

Paragraph 51.



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       12.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 52. Answering further, CIIC refers the Court to the referenced

MSAs, which are written documents which speak for themselves, for their true and complete

terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       13.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 53.

       14.     CIIC admits that several insurance carriers participated in the defense or

settlement of the Lawsuits, and further admits that CIIC issued Commercial Umbrella Liability

Policy, Policy No. 24238279 to Missouri Basin Well Services, Inc. DBA MBI Energy Services,

Inc. but CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the

remaining allegations in Paragraph 54, including the footnote.

       15.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 55. Answering further, CIIC refers the Court to the referenced

policies, which are written documents which speak for themselves, for their true and complete

terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       16.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 56. Answering further, CIIC refers the Court to the referenced

policies, which are written documents which speak for themselves, for their true and complete

terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       17.     CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 57. Answering further, CIIC refers the Court to the referenced

policy, which is a written document which speaks for itself, for its true and complete terms.

CIIC denies the allegations to the extent they are inconsistent therewith.



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       18.     CIIC admits it issued the referenced policy in Paragraph 58. CIIC denies that the

“sits on top of” language is a direct quote from the referenced policy. Answering further, CIIC

refers the Court to the referenced policy, which is a written document which speaks for itself, for

its true and complete terms. CIIC denies the allegations to the extent they are inconsistent

therewith. The remaining allegations in Paragraph 58 contain legal conclusions, to which no

response is required.

       19.     Paragraph 59 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC is without sufficient knowledge to form a belief as to the truth

or falsity of the allegations. Answering further, CIIC refers the Court to the referenced policy,

which is a written document which speaks for itself, for its true and complete terms. CIIC denies

the allegations to the extent they are inconsistent therewith.

       20.     Paragraph 60 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC is without sufficient knowledge to form a belief as to the truth

or falsity of the allegations. Answering further, CIIC refers the Court to the referenced policy,

which is a written document which speaks for itself, for its true and complete terms. CIIC denies

the allegations to the extent they are inconsistent therewith.

       21.     Paragraph 61 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC denies the allegations to the extent that they are directed to

CIIC. CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the

remaining allegations in Paragraph 61.        Answering further, CIIC refers the Court to the

referenced policies, which are written documents which speak for themselves, for their true and

complete terms. CIIC denies the allegations to the extent they are inconsistent therewith.




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       22.      CIIC admits it received a letter from XTO dated June 29, 2018 as alleged in

Paragraph 62. Answering further, CIIC refers the Court to that and the other referenced letters,

which are written documents which speak for themselves, for their true and complete terms.

CIIC denies the allegations to the extent they are inconsistent therewith.        CIIC is without

sufficient knowledge to form a belief as to the truth or falsity of the remaining allegations in

Paragraph 62.

       23.      CIIC is without sufficient knowledge to form a belief as to the truth or falsity of

the allegations in Paragraph 63. Answering further, CIIC refers the Court to the referenced

policy and any denial letter, which are written documents which speak for themselves, for their

true and complete terms.      CIIC denies the allegations to the extent they are inconsistent

therewith.

       24.      Paragraph 64 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC admits CIIC denied coverage, but denies that its denial was

improper. CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the

remaining allegations in Paragraph 64.       Answering further, CIIC refers the Court to the

referenced denial letters, which are written documents which speak for themselves, for their true

and complete terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       25.      Paragraph 65 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC is without sufficient knowledge to form a belief as to the truth

or falsity of Paragraph 65. Answering further, CIIC refers the Court to the referenced denial

letter and policy, which are written documents which speak for themselves, for their true and

complete terms. CIIC denies the allegations to the extent they are inconsistent therewith.




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       26.      CIIC admits defendants in the Lawsuits and their insurance carriers participated in

mediation, and upon information and belief, admits that XTO was able to secure settlements with

all but one of the underlying plaintiffs, but is without sufficient knowledge to form a belief as to

the truth or falsity of the remaining allegations in Paragraph 66.

       27.      CIIC admits that CIIC did not contribute to settlement, and upon information and

belief, admits several carriers tendered their full limits, but is without sufficient knowledge to

form a belief as to the truth or falsity of the remaining allegations in Paragraph 67.

       28.      The allegations contained in Paragraph 68 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.

       29.      The allegations in Paragraph 69 contain legal conclusions to which no response is

required.    To the extent a response is required, CIIC admits CIIC’s policy is a valid and

enforceable contract. CIIC is without sufficient knowledge to form a belief as to the truth or

falsity of the remaining allegations in Paragraph 69. Answering further, CIIC refers the Court to

the referenced policies, which are written documents which speak for themselves, for their true

and complete terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       30.      The allegation in Paragraphs 70-74 contain legal conclusions to which no

response is required.     To the extent a response is required, CIIC denies the allegations.

Answering further, CIIC refers the Court to the referenced policies, which are written documents

which speak for themselves, for their true and complete terms. CIIC denies the allegations to the

extent they are inconsistent therewith.

       31.      The allegations contained in Paragraph 75 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.




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       32.     Paragraphs 76-80 contain legal conclusions to which no response is required. To

the extent a response is required, the allegations contained in Paragraphs 76-80 are directed to an

entity other than CIIC, and as such, no response is required. To the extent a response is required,

CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the allegations.

Answering further, CIIC refers the Court to the referenced policy, which is a written document

which speaks for itself, for its true and complete terms. CIIC denies the allegation to the extent

they are inconsistent therewith.

       33.     The allegations contained in Paragraph 81 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.

       34.     The allegations in Paragraphs 82-85 contain legal conclusions to which no

response is required. To the extent a response is required, CIIC denies the allegations directed at

CIIC. CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the

allegations directed at Berkley. Answering further, CIIC refers the Court to the referenced

policies, which are written documents which speak for themselves, for their true and complete

terms. CIIC denies the allegations to the extent they are inconsistent therewith.

       35.     The allegations contained in Paragraph 86 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.

       36.     The allegations in Paragraphs 87-90 contain legal conclusions to which no

response is required. To the extent a response is required, CIIC denies the allegations to the

extent they are directed to CIIC. CIIC is without sufficient knowledge to form a belief as to the

truth or falsity of the allegations directed at Berkley. Answering further, CIIC refers the Court to

the referenced policies, which are written documents which speak for themselves, for their true

and complete meaning. CIIC denies the allegations to the extent they are inconsistent therewith.



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        37.     The allegations contained in Paragraph 91 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.

        38.     Paragraphs 92-94 contain legal conclusions to which no response is required.

They are also directed to an entity other than CIIC, and as such, no response is required. To the

extent a response is required, CIIC is without sufficient knowledge to form a belief as to the truth

or falsity of the allegations. Answering further, CIIC refers the Court to the referenced policies,

which are written document which speak for themselves, for their true and complete meaning.

CIIC denies the allegations to the extent they are inconsistent therewith.

        39.     The allegations contained in Paragraph 95 simply incorporate by reference other

allegations, and therefore, CIIC’s responses to those Paragraphs are incorporated by reference.

        40.     Paragraph 96 contains legal conclusions to which no response is required. To the

extent a response is required, CIIC denies the allegations to the extent they are directed at CIIC.

CIIC is without sufficient knowledge to form a belief as to the truth or falsity of the allegations

directed at the other carriers.

        41.     Paragraph 97 contains Plaintiff’s demand for jury trial, and is not an allegation to

which a response is required.

        42.     CIIC denies that Plaintiff is entitled to the relief requested from CIIC in

Paragraphs 98 and 99.

                                  AFFIRMATIVE DEFENSES

        43.     The Third-Party Complaint fails to state a claim against CIIC upon which relief

can be granted.

        44.     CIIC has performed any and all duties that it owes under its policy.




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       45.     CIIC is not required to make any payment under its policy unless and until the

total applicable limits of the scheduled underlying insurance and all other insurance has been

exhausted. CIIC is not required to make any payment under CIIC’s policy “unless and until the

total applicable limits of the Scheduled Underlying Insurance by the payment of Loss to which

[CIIC’s policy] applies, and any applicable Other Insurance have been exhausted by the payment

of Loss.” Further, the “Other Insurance” condition of CIIC’s policy provides that CIIC’s policy

is excess to other valid and collectible insurance unless such insurance is specifically written to

be excess to CIIC’s policy.

       46.     XTO’s claims are barred because of XTO’s obligations in the Master Service

Agreement (“MSA”) with Missouri Basin Well Service, Inc. (“Missouri Basin”).

       47.     XTO’s claims are barred in whole or in part to the extent it is seeking insurance

coverage under CIIC’s policy for claims, demands and causes of action that it agreed to “release,

defend, indemnify and hold [Missouri Basin] harmless from and against” as set forth in the

MSA, paragraph 10.2.1.

       48.     XTO’s claims are barred in whole or in part to the extent XTO agreed that its

indemnity obligations and insurance would be primary to any other insurance provided by or

available to Missouri Basin and would provide a waiver of subrogation as set forth in the MSA,

paragraph 10.2.3.

       49.     XTO’s claims are barred in whole or in part because XTO has an obligation to

indemnify Missouri Basin at least up to the $51,000,000 in insurance limits, the minimum

amount that both XTO and Missouri Basin obtained to support their mutual indemnity

obligations. See TEX. CIV. PRAC. & REM. CODE § 127.005. If this Act does not apply, XTO’s

obligations to Missouri Basin are unlimited.



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       50.    XTO’s claims are barred because XTO does not qualify as an additional insured

under CIIC’s policy and the scheduled underlying insurance referenced in the policy.

       51.    XTO’s claims are barred because XTO’s contractors do not qualify as additional

insureds under CIIC’s policy and the scheduled underlying insurance referenced in the policy.

       52.    XTO’s claims are barred in whole or in part by the Contractors’ Limitation

Endorsement to CIIC’s policy and the Contractual Liability exclusion in the scheduled

underlying insurance referenced in the policy. The Contractors’ Limitation Endorsement to

CIIC’s policy excludes coverage for “any liability assumed by the Insured under any contract or

agreement,” unless insurance for such liability “is provided by Scheduled Underlying

Insurance,” and such coverage “will follow the terms, definitions, conditions and exclusions of

Scheduled Underlying Insurance, subject to the Policy Period, Limits of Insurance, premium and

all other terms, definitions, conditions and exclusions of [the CIIC Policy].”   The Contractual

Liability exclusion in Berkley’s CGL policy, in turn, excludes coverage for damages “the

Insured is obligated to pay … by reason of the assumption of liability in a contract or

agreement,” unless such liability is “assumed in a contract or agreement that is an Insured

Contract.” Berkley’s CGL policy defines an “Insured Contract” as “that part of any written

contract or written agreement pertaining to Your business under which You assume the liability

of another party to pay” for injury to a third person. “You” and “Your” refer to the Named

Insured, Missouri Basin Well Service, Inc. and other listed Named Insureds, but not XTO or

XTO’s contractors. The Contractual Liability exclusion in Berkley’s umbrella policy similarly

excludes coverage for damages “the Insured is obligated to pay … by reason of the assumption

of liability in a contract or agreement,” and defines “Insured Contract,” “You” and “Your.”




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          53.   XTO’s claims are barred in whole or in part because XTO is not entitled to

insurance coverage under the scheduled underlying insurance referenced in CIIC’s policy and the

coverage provided by CIIC’s Policy is no broader than the coverage provided by such scheduled

underlying insurance. Accordingly, and to the extent applicable, CIIC expressly adopts and

incorporates by reference herein the defenses and affirmative defenses asserted by Berkley

National Insurance Company.

          54.   XTO’s claims are barred in whole or in part by the “Expected or Intended Injury”

exclusion in CIIC’s policy and the scheduled underlying insurance referenced in the policy,

which excludes coverage for injury “expected or intended from the standpoint of the Insured.”

Plaintiffs in the underlying lawsuits alleged that XTO’s intentional and reckless conduct caused

or contributed to the occurrence at issue. To the extent that XTO or any of XTO’s contractors

expected or intended injury to the plaintiffs in the underlying lawsuits, the “Expected or Intended

Injury” exclusion applies to preclude coverage.

          55.   XTO’s claims are barred in whole or in part by the “Duties in the Event of an

Occurrence, Claim or Suit” condition of CIIC’s policy and the scheduled underlying insurance

referenced in the policy, which requires any insured to cooperate and not to voluntarily make any

payment, assume any obligation, or incur any expense, other than for first aid, without consent.

          56.   XTO’s claims are barred by the terms, limits, exclusions, conditions, definitions,

and endorsements in CIIC’s policy and the scheduled underlying insurance referenced in the

policy.

          57.   XTO’s claims are barred by the pollution exclusion in CIIC’s policy.

          58.   There is or may be a failure to mitigate damages.




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       59.     CIIC reserves the right to assert additional defenses to the extent they become

known through the course of discovery.

       WHEREFORE, CIIC prays that the Third-Party Complaint be dismissed and that CIIC be

awarded its costs and disbursements herein, together with such other and further relief as the

Court shall deem to be fair, just, and equitable.

       CIIC HEREBY DEMANDS TRIAL BY JURY OF NINE (9), OR BY THE

MAXIMUM NUMBER PERMISSIBLE UNDER APPLICABLE LAW.

Dated this 10th day of May, 2019.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 10, 2019, I electronically filed the foregoing

document with the Clerk of Court using the Court’s CM/ECF system. Copies of the foregoing

document will be served upon interested counsel either via transmission of Notices of Electronic

Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

who are not authorized to receive electronically Notices of Electronic Filing.


                                             By:     /s/ Joel A. Flom
                                                     Joel A. Flom, Esq.




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